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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                   )       Case No.: 5:21-MJ-00610-DUTY
11                                               )
                             Plaintiff,          )       ORDER OF DETENTION PENDING
12                                               )       FURTHER REVOCATION
                     v.                          )       PROCEEDINGS
13                                               )       (FED. R. CRIM. P. 32.1(a)(6); 18
     Tony Juarez,                                )       U.S.C. § 3143(a)(1))
14                                               )
                             Defendant.          )
15                                               )
16         The defendant having been arrested in this District pursuant to a warrant
                                                      Southern
17 issued by the United States District Court for the _______________ District of
   California
18 ______________ for alleged violation(s) of the terms and conditions of probation
19 or supervised release; and
20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. ( x)    The defendant has not met his/her burden of establishing by clear and
23            convincing evidence that he/she is not likely to flee if released under 18
24            U.S.C. § 3142(b) or (c). This finding is based on the following:
25            (x )        information in the Pretrial Services Report and Recommendation
26            ( x)        information in the violation petition and report(s)
27            ( )         the defendant’s nonobjection to detention at this time
28            ( )         other:


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 1           and/ or
 2 B. ( x)   The defendant has not met his/her burden of establishing by clear and
 3           convincing evidence that he/she is not likely to pose a danger to the safety
 4           of any other person or the community if released under 18 U.S.C.
 5           § 3142(b) or (c). This finding is based on the following:
 6           ( x)   information in the Pretrial Services Report and Recommendation
 7           ( x)   information in the violation petition and report(s)
 8           ( )    the defendant’s nonobjection to detention at this time
 9           ( )    other:
10
11 IT THEREFORE IS ORDERED that the defendant be detained pending the further
12 revocation proceedings.
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14 Dated: 9/27/2021                        ____________________ _____________
                                           SHASHI H. KEWALRAMANI
15                                         UNITED STATES MAGISTRATE JUDGE
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